Case 2:23-cv-00059-JRG-RSP   Document 215-10   Filed 10/04/24   Page 1 of 27 PageID
                                   #: 12128




                       EXHIBIT J
            Case 2:23-cv-00059-JRG-RSP   Document 215-10          Filed 10/04/24    Page 2 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12129
                               RELATED TO MEMBER CASE 2:23-cv-0062


Lead Case No.     Date Filed Docket Number                                Docket Entry
                                             CONSOLIDATION ORDER - The above-captioned cases are
                                             hereby ORDERED to be CONSOLIDATED for all pretrial issues
                                             with the LEAD CASE, Case No. 2:23-cv-00060. All parties are
  2:23-cv-0060    4/18/2023       19
                                             instructed to file any future filings in the LEAD CASE. Individual
                                             cases remain active for trial. Signed by District Judge Rodney
                                             Gilstrap on 4/17/2023. (nkl, ) (Entered: 04/18/2023)
                                             ORDER - Scheduling/Case Management Conference set for
                                             5/30/2023 01:30 PM before District Judge Rodney Gilstrap. Signed
  2:23-cv-0060    4/18/2023       20
                                             by District Judge Rodney Gilstrap on 4/18/2023. (nkl, ) (Entered:
                                             04/19/2023)
                                             NOTICE of Attorney Appearance by Ashok Ramani on behalf of
                                             Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    5/2/2023        26         Cable Communications, LLC d/b/a Xfinity, Comcast Corporation,
                                             Comcast of Houston, LLC (Ramani, Ashok) (Entered: 05/02/2023)

                                             NOTICE of Attorney Appearance by David Lisson on behalf of
                                             Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    5/8/2023        29
                                             Cable Communications, LLC d/b/a Xfinity, Comcast Corporation,
                                             Comcast of Houston, LLC (Lisson, David) (Entered: 05/08/2023)
                                             NOTICE of Attorney Appearance by James Y Park on behalf of
                                             Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    5/8/2023        30
                                             Cable Communications, LLC d/b/a Xfinity, Comcast Corporation,
                                             Comcast of Houston, LLC (Park, James) (Entered: 05/08/2023)
                                             MOTION to Dismiss Comcast Corporation and Plaintiff's Claim of
                                             Willful Infringement by Comcast Cable Communications
                                             Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0060    5/8/2023        31
                                             Xfinity, Comcast Corporation, Comcast of Houston, LLC.
                                             (Attachments: # 1 Text of Proposed Order, # 2 Affidavit of Jeremy
                                             Hsu)(Park, James) (Entered: 05/08/2023)
                                             Unopposed MOTION to Seal Comcast Defendants' Opposed
                                             Motion to Transfer [Correction of D.I. 32] by Comcast Cable
                                             Communications Management, LLC, Comcast Cable
  2:23-cv-0060    5/8/2023        33
                                             Communications, LLC d/b/a Xfinity, Comcast Corporation, Comcast
                                             of Houston, LLC. (Attachments: # 1 Text of Proposed Order)(Park,
                                             James) (Entered: 05/08/2023)




Exhibit J                                                                                          Page 1 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10         Filed 10/04/24       Page 3 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12130
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          Opposed SEALED MOTION to Transfer Under 28 U.S.C. 1404(a)
                                          by Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast Corporation,
                                          Comcast of Houston, LLC. (Attachments: # 1 Text of Proposed
                                          Order, # 2 Affidavit of N. Capocasale, # 3 Affidavit of E. Cohen, #
                                          4 Affidavit of T. Ricker, # 5 Affidavit of R. Villaceran, # 6 Affidavit of
                                          J. Park, # 7 Exhibit 1, # 8 Exhibit 2, # 9 Exhibit 3, # 10 Exhibit 4, #
  2:23-cv-0060    5/8/2023       34
                                          11 Exhibit 5, # 12 Exhibit 6, # 13 Exhibit 7, # 14 Exhibit 8, #
                                          15 Exhibit 9, # 16 Exhibit 10, # 17 Exhibit 11, # 18 Exhibit 12, #
                                          19 Exhibit 13, # 20 Exhibit 14, # 21 Exhibit 15, # 22 Exhibit 16, #
                                          23 Exhibit 17, # 24 Exhibit 18, # 25 Exhibit 19, # 26 Exhibit 20, #
                                          27 Exhibit 21, # 28 Exhibit 22, # 29 Exhibit 23, # 30 Exhibit 24, #
                                          31 Exhibit 25, # 32 Exhibit 26, # 33 Exhibit 27, # 34 Exhibit
                                          28)(Park, James) (Entered: 05/08/2023)
                                          ORDER granting 33 Unopposed MOTION to Seal Comcast
                                          Defendants' Opposed Motion to Transfer [Correction of D.I. 32].
  2:23-cv-0060    5/10/2023      38
                                          Signed by District Judge Rodney Gilstrap on 5/10/2023. (ch, )
                                          (Entered: 05/11/2023)
                                          NOTICE of Readiness for Scheduling Conference by Touchstream
  2:23-cv-0060    5/12/2023      44       Technologies, Inc. (Gray, Michael) (Entered: 05/12/2023)

                                          REDACTION (Public Version of Comcast Defendants' Motion to
                                          Transfer Under 28 U.S.C. , 1404(a)) by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast Corporation, Comcast
                                          of Houston, LLC. (Attachments: # 1 Text of Proposed Order, #
                                          2 Affidavit of N. Capocasale, # 3 Affidavit of E. Cohen, # 4 Affidavit
                                          of T. Ricker, # 5 Affidavit of R. Villaceran, # 6 Affidavit of J. Park, #
  2:23-cv-0060    5/15/2023      45       7 Exhibit 1, # 8 Exhibit 2, # 9 Exhibit 3, # 10 Exhibit 4, # 11 Exhibit
                                          5, # 12 Exhibit 6, # 13 Exhibit 7, # 14 Exhibit 8, # 15 Exhibit 9, #
                                          16 Exhibit 10, # 17 Exhibit 11, # 18 Exhibit 12, # 19 Exhibit 13, #
                                          20 Exhibit 14, # 21 Exhibit 15, # 22 Exhibit 16, # 23 Exhibit 17, #
                                          24 Exhibit 18, # 25 Exhibit 19, # 26 Exhibit 20, # 27 Exhibit 21, #
                                          28 Exhibit 22, # 29 Exhibit 23, # 30 Exhibit 24, # 31 Exhibit 25, #
                                          32 Exhibit 26, # 33 Exhibit 27, # 34 Exhibit 28)(Park, James)
                                          (Entered: 05/15/2023)
                                          Joint MOTION For Venue Discovery And Extension of Briefing
                                          Deadlines by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast
  2:23-cv-0060    5/19/2023      50
                                          Corporation, Comcast of Houston, LLC, Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Proposed Order)(Gray,
                                          Michael) (Entered: 05/19/2023)
                                          NOTICE of Discovery Disclosure by Touchstream Technologies,
  2:23-cv-0060    5/19/2023      51       Inc. per P.R. 3-1 and P.R. 3-2 (Gray, Michael) (Entered:
                                          05/19/2023)
                                          ORDER granting 50 Joint MOTION For Venue Discovery And
  2:23-cv-0060    5/22/2023      52       Extension of Briefing Deadlines. Signed by District Judge Rodney
                                          Gilstrap on 5/22/2023. (ch, ) (Entered: 05/22/2023)


Exhibit J                                                                                             Page 2 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10       Filed 10/04/24      Page 4 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12131
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          ***FILED IN ERROR***AMENDED COMPLAINT against Comcast
                                          Cable Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast Corporation, Comcast
  2:23-cv-0060    5/25/2023      54       of Houston, LLC, filed by Touchstream Technologies, Inc..
                                          (Attachments: # 1 Exhibit 1 - 251 Pat, # 2 Exhibit 2 - 751 Pat, #
                                          3 Exhibit 3 - 934 Pat)(Gray, Michael) Modified on 5/26/2023 (ch, ).
                                          (Entered: 05/25/2023)
                                          AMENDED COMPLAINT against Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast Corporation, Comcast of Houston, LLC, filed by
  2:23-cv-0060    5/25/2023      55       Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit 1 - 251
                                          Pat, # 2 Exhibit 2 - 751 Pat, # 3 Exhibit 3 - 934 Pat)(Gray, Michael)
                                          (Entered: 05/25/2023)


                                          Unopposed MOTION for Leave to File Supplemental Infringement
  2:23-cv-0060    6/5/2023       60
                                          Contentions by Touchstream Technologies, Inc.. (Attachments: #
                                          1 Proposed Order)(Gray, Michael) (Entered: 06/05/2023)
                                          ORDER granting 60 Motion for Leave to File Supplemental
  2:23-cv-0060    6/8/2023       62       Infringement Contentions. Signed by District Judge Rodney
                                          Gilstrap on 6/7/2023. (nkl, ) (Entered: 06/08/2023)

                                          STIPULATION of Dismissal Without Prejudice As To Defendant
  2:23-cv-0060    6/8/2023       63
                                          Comcast Corp. by Touchstream Technologies, Inc.. (Attachments:
                                          # 1 Proposed Order)(Gray, Michael) (Entered: 06/08/2023)
                                          MOTION to Dismiss by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0060    6/9/2023       65       Xfinity, Comcast Corporation, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Exhibit 1)(Lisson, David)
                                          (Entered: 06/09/2023)
                                          ORDER granting 63 Stipulation of Dismissal as to Comcast
                                          Corporation (Consolidated Civil Action 2:23cv62). Court ORDERS
  2:23-cv-0060    6/9/2023       66       that Defendant Comcast Corporation is hereby DISMISSED
                                          WITHOUT PREJUDICE. Signed by District Judge Rodney Gilstrap
                                          on 6/9/2023. (ch, ) (Entered: 06/12/2023)
                                          Joint MOTION for Entry of Docket Control Order (Unopposed) by
  2:23-cv-0060    6/13/2023      67       Touchstream Technologies, Inc.. (Attachments: # 1 Proposed
                                          Docket Control Order)(Gray, Michael) (Entered: 06/13/2023)
                                          Joint MOTION for Entry of Discovery Order (Unopposed) by
  2:23-cv-0060    6/13/2023      68       Touchstream Technologies, Inc.. (Attachments: # 1 Proposed
                                          Discovery Order)(Gray, Michael) (Entered: 06/13/2023)
                                          NOTICE of Attorney Appearance by Megan Janee Mitchell on
  2:23-cv-0060    6/16/2023      69       behalf of Touchstream Technologies, Inc. (Mitchell, Megan)
                                          (Entered: 06/16/2023)
                                          NOTICE of Attorney Appearance by Andrew M Long on behalf of
  2:23-cv-0060    6/16/2023      70       Touchstream Technologies, Inc. (Long, Andrew) (Entered:
                                          06/16/2023)



Exhibit J                                                                                         Page 3 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10       Filed 10/04/24     Page 5 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12132
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          DOCKET CONTROL ORDER: Pretrial Conference set for
                                          9/23/2024 09:00 AM before District Judge Rodney Gilstrap.
                                          Amended Pleadings due by 2/29/2024. Joinder of Parties due by
                                          6/6/2023. Jury Selection set for 10/28/2024 09:00AM before District
  2:23-cv-0060    6/16/2023      71       Judge Rodney Gilstrap. Markman Hearing set for 5/16/2024 09:00
                                          AM before District Judge Rodney Gilstrap. Dispositive Motions due
                                          by 7/22/2024. Joint Pretrial Order due by 9/16/2024. Signed by
                                          District Judge Rodney Gilstrap on 6/15/2023. (saenz) (Entered:
                                          06/16/2023)
                                          DISCOVERY ORDER. Signed by District Judge Rodney Gilstrap
  2:23-cv-0060    6/16/2023      72
                                          on 6/15/2023. (saenz) (Entered: 06/16/2023)
                                          Unopposed MOTION for Protective Order by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Proposed Order
  2:23-cv-0060    6/20/2023      73
                                          PROPOSED PROTECTIVE ORDER)(Gray, Michael) (Entered:
                                          06/20/2023)
                                          NOTICE by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
  2:23-cv-0060    6/20/2023      74
                                          Houston, LLC (Comcast's Notice of Initial and Additional
                                          Disclosures) (Park, James) (Entered: 06/20/2023)
                                          Unopposed MOTION for Extension of Time to File Proposed
                                          Order Focusing Claims and Prior Art to Reduce Costs by Comcast
                                          Cable Communications Management, LLC, Comcast Cable
  2:23-cv-0060    6/20/2023      75
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order)(Park, James) (Entered:
                                          06/20/2023)
                                          NOTICE by Touchstream Technologies, Inc. Touchstream's Notice
  2:23-cv-0060    6/21/2023      76       of Initial and Additional Disclosures (Gray, Michael) (Entered:
                                          06/21/2023)
                                          PROTECTIVE ORDER. Signed by District Judge Rodney Gilstrap
  2:23-cv-0060    6/21/2023      77
                                          on 6/21/2023. (nkl, ) (Entered: 06/21/2023)
                                          ORDER granting 75 Motion to Extend Deadline to File Proposed
                                          Order Focusing Claims and Prior Art to Reduce Costs. Signed by
  2:23-cv-0060    6/21/2023      79
                                          District Judge Rodney Gilstrap on 6/21/2023. (nkl, ) (Entered:
                                          06/21/2023)
                                          Joint MOTION Entry of Order Focusing Claims and Prior Art to
                                          Reduce Costs (Unopposed) by Touchstream Technologies, Inc..
  2:23-cv-0060    6/22/2023      81
                                          (Attachments: # 1 Proposed Order)(Gray, Michael) (Entered:
                                          06/22/2023)
                                          RESPONSE in Opposition re 65 MOTION to Dismiss filed by
  2:23-cv-0060    6/23/2023      83       Touchstream Technologies, Inc.. (Gray, Michael) (Entered:
                                          06/23/2023)
                                          ORDER granting 81 Motion Entry of Order Focusing Claims and
                                          Prior Art to Reduce Costs (Unopposed). Signed by District Judge
  2:23-cv-0060    6/26/2023      84
                                          Rodney Gilstrap on 6/23/2023. (nkl, ) (Entered: 06/26/2023)




Exhibit J                                                                                       Page 4 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10       Filed 10/04/24      Page 6 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12133
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          NOTICE of Attorney Appearance by Micayla Hardisty on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    6/28/2023      85
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Hardisty, Micayla) (Entered: 06/28/2023)
                                          NOTICE of Attorney Appearance by Alena Farber on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    6/28/2023      86
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Farber, Alena) (Entered: 06/28/2023)
                                          NOTICE of Attorney Appearance by Anita Liu, I on behalf of
  2:23-cv-0060    6/29/2023      87       Touchstream Technologies, Inc. (Liu, Anita) (Entered: 06/29/2023)

                                          REPLY to Response to Motion re 65 MOTION to Dismiss Plaintiff's
                                          Claims of Willful Infringement filed by Comcast Cable
  2:23-cv-0060    6/30/2023      89       Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Exhibit 1)(Park, James) (Entered: 06/30/2023)
                                          Joint MOTION for Extension of Time to Complete Discovery (Joint
                                          Motion to Extend Deadline for Venue Discovery and Motion to
                                          Transfer Briefing) by Comcast Cable Communications
  2:23-cv-0060    7/17/2023      94
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: # 1 Proposed
                                          Order)(Farber, Alena) (Entered: 07/17/2023)
                                          ORDER granting 94 Motion to Extend Deadline for Venue
                                          Discovery and Motionto Transfer Briefing. Signed by District Judge
  2:23-cv-0060    7/19/2023      95
                                          Rodney Gilstrap on 7/19/2023. (nkl, ) (Entered: 07/19/2023)

                                          NOTICE of Discovery Disclosure by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC
  2:23-cv-0060    8/4/2023       100
                                          (Notice of Disclosures Pursuant to Standing Order Regarding
                                          Subject Matter Eligibility and P.R. 3-3 and 3-4) (Park, James)
                                          (Entered: 08/04/2023)
                                          SEALED RESPONSE to Motion re 34 Opposed SEALED MOTION
                                          to Transfer Under 28 U.S.C. 1404(a) filed by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit P01, # 2 Exhibit P02,
                                          # 3 Exhibit P03, # 4 Exhibit P04, # 5 Exhibit P05, # 6 Exhibit P06, #
                                          7 Exhibit P07, # 8 Exhibit P08, # 9 Exhibit P09, # 10 Exhibit P10, #
                                          11 Exhibit P11, # 12 Exhibit P12, # 13 Exhibit P13, # 14 Exhibit
                                          P14, # 15 Exhibit P15, # 16 Exhibit P16, # 17 Exhibit P17, #
  2:23-cv-0060    8/25/2023      104      18 Exhibit P18, # 19 Exhibit P19, # 20 Exhibit P20, # 21 Exhibit
                                          P21, # 22 Exhibit P22, # 23 Exhibit P23, # 24 Exhibit P25, #
                                          25 Exhibit P26, # 26 Exhibit P27, # 27 Exhibit P28, # 28 Exhibit
                                          P29, # 29 Exhibit P30, # 30 Exhibit P31, # 31 Exhibit P32, #
                                          32 Exhibit P33, # 33 Exhibit P34, # 34 Exhibit P35, # 35 Exhibit
                                          P36, # 36 Exhibit P37, # 37 Exhibit P38, # 38 Exhibit P39, #
                                          39 Affidavit/Declaration Declaration of Michael Gray)(Gray,
                                          Michael) (Entered: 08/25/2023)



Exhibit J                                                                                         Page 5 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10       Filed 10/04/24      Page 7 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12134
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 104 Sealed Response to Motion,,, by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit P01, # 2 Exhibit P02,
                                          # 3 Exhibit P03, # 4 Exhibit P04, # 5 Exhibit P05, # 6 Exhibit P06, #
                                          7 Exhibit P07, # 8 Exhibit P08, # 9 Exhibit P09, # 10 Exhibit P10, #
                                          11 Exhibit P11, # 12 Exhibit P12, # 13 Exhibit P13, # 14 Exhibit
                                          P14, # 15 Exhibit P15, # 16 Exhibit P16, # 17 Exhibit P17, #
                                          18 Exhibit P18, # 19 Exhibit P19, # 20 Exhibit P20, # 21 Exhibit
  2:23-cv-0060    9/12/2023      107
                                          P21, # 22 Exhibit P22, # 23 Exhibit P23, # 24 Exhibit P25, #
                                          25 Exhibit P26, # 26 Exhibit P27, # 27 Exhibit P28, # 28 Exhibit
                                          P29, # 29 Exhibit P30, # 30 Exhibit P31, # 31 Exhibit P32, #
                                          32 Exhibit P33, # 33 Exhibit P34, # 34 Exhibit P35, # 35 Exhibit
                                          P36, # 36 Exhibit P37, # 37 Exhibit P38, # 38 Exhibit P39, #
                                          39 Affidavit/Declaration of Gray)(Gray, Michael) (Entered:
                                          09/12/2023)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Philip Eckert on
  2:23-cv-0060    9/19/2023      110      behalf of All Plaintiffs. Filing fee $ 100, receipt number ATXEDC-
                                          9711982. (Eckert, Philip) (Entered: 09/19/2023)
                                          SEALED REPLY to Response to Motion re 34 Opposed SEALED
                                          MOTION to Transfer Under 28 U.S.C. 1404(a) filed by Comcast
  2:23-cv-0060    9/27/2023      112      Cable Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Park, James) (Entered: 09/27/2023)
                                          AFFIDAVIT in Support re 34 Opposed SEALED MOTION to
                                          Transfer Under 28 U.S.C. 1404(a) (Declaration of James Y. Park in
                                          Support of Reply in Further Support of Comcast's Motion to
                                          Transfer Under 28 U.S.C. 1404(a)) filed by Comcast Cable
  2:23-cv-0060    9/27/2023      113
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Park,
                                          James) (Entered: 09/27/2023)
                                          REDACTION to 112 Sealed Reply to Response to Motion, by
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0060    10/4/2023      114
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Park, James) (Entered: 10/04/2023)
                                          SEALED SUR-REPLY to Reply to Response to Motion re 34
                                          Opposed SEALED MOTION to Transfer Under 28 U.S.C. 1404(a)
  2:23-cv-0060    10/4/2023      115
                                          filed by Touchstream Technologies, Inc.. (Gray, Michael) (Entered:
                                          10/04/2023)
                                          REDACTION to 115 Sealed Sur-Reply to Reply to Response to
                                          Motion Comcast Defendants' Motion to Transfer Under 28 U.S.C.
  2:23-cv-0060   10/10/2023      116
                                          1404(a) by Touchstream Technologies, Inc.. (Gray, Michael)
                                          (Entered: 10/10/2023)

                                          JOINT MOTION for Discovery - Unopposed Motion for Entry of E-
  2:23-cv-0060   10/18/2023      117
                                          Discovery Order by Touchstream Technologies, Inc.. (Attachments:
                                          # 1 Proposed Order)(Gray, Michael) (Entered: 10/18/2023)




Exhibit J                                                                                         Page 6 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10        Filed 10/04/24      Page 8 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12135
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          ORDER REGARDING E-DISCOVERY re 117 Motion for Discovery.
  2:23-cv-0060   10/20/2023      119      Signed by District Judge Rodney Gilstrap on 10/19/2023. (nkl, )
                                          (Entered: 10/20/2023)
                                          ORDER denying 31 MOTION to Dismiss Comcast Corporation and
                                          Plaintiff's Claim of Willful Infringement. Signed by District Judge
  2:23-cv-0060   12/15/2023      127
                                          Rodney Gilstrap on 12/15/2023. (ch, ) (Entered: 12/15/2023)

                                          STIPULATION of Comcast Defendants Regarding Invalidity
                                          Defenses by Comcast Cable Communications Management, LLC,
  2:23-cv-0060    1/9/2024       129      Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Lisson, David) (Entered: 01/09/2024)

                                          NOTICE of Discovery Disclosure by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0060    1/11/2024      130
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC
                                          Pursuant to P.R. 4-1 (Farber, Alena) (Entered: 01/11/2024)
                                          NOTICE OF COMPLIANCE by Touchstream Technologies, Inc.
  2:23-cv-0060    1/12/2024      133      Regarding P.R. 4-1 Disclosures (Gray, Michael) (Entered:
                                          01/12/2024)
                                          NOTICE OF COMPLIANCE by Touchstream Technologies, Inc.
  2:23-cv-0060    2/1/2024       134
                                          (P.R. 4-2 Disclosurees) (Gray, Michael) (Entered: 02/01/2024)
                                          NOTICE of Discovery Disclosure by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0060    2/1/2024       135
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC
                                          Pursuant to P.R. 4-2 (Park, James) (Entered: 02/01/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Ryan D. Dykal
                                          on behalf of Touchstream Technologies, Inc.. Filing fee $ 100,
  2:23-cv-0060    2/15/2024      137
                                          receipt number ATXEDC-9982236. (Dykal, Ryan) (Entered:
                                          02/15/2024)
                                          NOTICE of Lead Attorney by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0060    2/16/2024      138
                                          Xfinity, Comcast of Houston, LLC (Ramani, Ashok) (Entered:
                                          02/16/2024)
                                          UNOPPOSED MOTION to Withdraw as Attorney by Michael W.
  2:23-cv-0060    2/16/2024      139      Gray by Touchstream Technologies, Inc.. (Attachments: #
                                          1 Proposed Order)(Gray, Michael) (Entered: 02/16/2024)
                                          MOTION to Change Designation of Lead Attorney and Attorney to
  2:23-cv-0060    2/16/2024      140      be Noticed by Touchstream Technologies, Inc.. (Attachments: #
                                          1 Proposed Order)(Gray, Michael) (Entered: 02/16/2024)
                                          NOTICE of Attorney Appearance by Robert H Reckers on behalf of
  2:23-cv-0060    2/16/2024      141      Touchstream Technologies, Inc. (Reckers, Robert) (Entered:
                                          02/16/2024)
                                          SEALED MOTION for Leave to Amend Its Infringement
                                          Contentions by Touchstream Technologies, Inc.. (Attachments: #
  2:23-cv-0060    2/16/2024      142      1 Declaration of Philip A. Eckert, # 2 Exhibit A, # 3 Exhibit B, #
                                          4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Dykal, Ryan)
                                          Modified on 2/20/2024 (nkl, ). (Entered: 02/16/2024)



Exhibit J                                                                                          Page 7 of 26
            Case 2:23-cv-00059-JRG-RSP   Document 215-10       Filed 10/04/24      Page 9 of 27 PageID
                                     LIST OF DOCKET  ENTRIES
                                               #: 12136
                               RELATED TO MEMBER CASE 2:23-cv-0062


                                          NOTICE of Attorney Appearance - Pro Hac Vice by Jordan Tyler
                                          Bergsten on behalf of Touchstream Technologies, Inc.. Filing fee $
  2:23-cv-0060    2/20/2024      143
                                          100, receipt number ATXEDC-9986566. (Bergsten, Jordan)
                                          (Entered: 02/20/2024)
                                          REDACTION to 142 SEALED MOTION for Leave to Amend Its
                                          Infringement Contentions by Touchstream Technologies, Inc..
  2:23-cv-0060    2/20/2024      144      (Attachments: # 1 Declaration of Philip Eckert, # 2 Exhibit A, #
                                          3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit
                                          F)(Dykal, Ryan) (Entered: 02/20/2024)
                                          ORDER granting 140 Motion to Change Designation of Lead
  2:23-cv-0060    2/22/2024      145      Attorney and Attorney to be Noticed. Signed by District Judge
                                          Rodney Gilstrap on 2/21/2024. (nkl, ) (Entered: 02/22/2024)
                                          Joint Claim Construction and Prehearing Statement (P.R. 4-3) by
  2:23-cv-0060    2/22/2024      146      Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit A)
                                          (Dykal, Ryan) (Entered: 02/22/2024)
                                          ORDER granting 139 Motion to Withdraw as Attorney. Attorney
  2:23-cv-0060    3/4/2024       149      Michael William Gray terminated. Signed by District Judge Rodney
                                          Gilstrap on 3/4/2024. (nkl, ) (Entered: 03/04/2024)
                                          ORDER - The Court issues this Order sua sponte. It is ORDERED
                                          that Jane Du be appointed as the Courts technical advisor in the
  2:23-cv-0060    3/6/2024       151
                                          above-captioned matter. Signed by District Judge Rodney Gilstrap
                                          on 3/6/2024. (nkl, ) (Entered: 03/06/2024)
                                          MEMORANDUM OPINION AND ORDER re 65 MOTION to
                                          Dismiss filed by Comcast Corporation, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC,
  2:23-cv-0060    3/14/2024      156
                                          Comcast Cable Communications Management, LLC.. Signed by
                                          District Judge Rodney Gilstrap on 3/14/2024. (nkl, ) (Entered:
                                          03/14/2024)
                                          ORDER - The Court issues this Order sua sponte. the Lead Case
                                          is hereby DECONSOLIDATED from Member Case Nos. 2:23-cv-
                                          00059-JRG and 2:23-cv-00062-JRG. It is further ORDERED that
                                          Member Case Nos. 2:23-cv-00059-JRG and 2:23-cv- 00062-JRG
  2:23-cv-0060    3/14/2024      158
                                          remain CONSOLIDATED for pretrial purposes, with Case No. 2:23-
                                          cv- 00059-JRG being designated as the new lead case.. Signed by
                                          District Judge Rodney Gilstrap on 3/14/2024. (nkl, ) (Entered:
                                          03/14/2024)
                                          NOTICE of Redaction by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0060    3/15/2024      159
                                          Xfinity, Comcast of Houston, LLC (Attachments: # 1 Exhibit
                                          A)(Park, James) (Entered: 03/15/2024)
                                          ORDER - The Court issues this Order sua sponte. the Lead Case
                                          is hereby DECONSOLIDATED from Member Case Nos. 2:23-cv-
                                          00059-JRG and 2:23-cv-00062-JRG. It is further ORDERED that
                                          Member Case Nos. 2:23-cv-00059-JRG and 2:23-cv- 0 0062-JRG
  2:23-cv-0059    3/14/2024      16
                                          remain CONSOLIDATED for pretrial purposes, with Case No. 2:23-
                                          cv- 00059-JRG being designated as the new lead case. Signed by
                                          District Judge Rodney Gilstrap on 3/14/2024. (nkl, ) (Entered:
                                          03/14/2024)


Exhibit J                                                                                         Page 8 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10        Filed 10/04/24      Page 10 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12137
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          NOTICE of Attorney Appearance by Ashok Ramani on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   3/26/2024     26
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Ramani, Ashok) (Entered: 03/26/2024)
                                          NOTICE of Attorney Appearance by David Lisson on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   3/26/2024     27
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Lisson, David) (Entered: 03/26/2024)
                                          NOTICE of Attorney Appearance by James Y Park on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   3/26/2024     28
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Park, James) (Entered: 03/26/2024)
                                          NOTICE of Attorney Appearance by Micayla Hardisty on behalf of
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   3/26/2024     29
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Hardisty, Micayla) (Entered: 03/26/2024)
                                          SECOND AMENDED COMPLAINT For Patent Infringement
                                          against For Patent Infringement Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   3/28/2024     30         Xfinity, Comcast of Houston, LLC, filed by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit 1 - '251 Patent, #
                                          2 Exhibit 2 - '751 Patent, # 3 Exhibit 3 - '934 Patent)(Dykal, Ryan)
                                          (Entered: 03/28/2024)
                                          NOTICE OF COMPLIANCE by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   4/4/2024      32         Xfinity, Comcast of Houston, LLC Preliminary Election of Asserted
                                          Prior Art (Lisson, David) (Entered: 04/04/2024)

                                          NOTICE (Defendants' Notice of Submission of Technical Tutorial)
                                          by Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   4/4/2024      34         Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Attachments: # 1 Exhibit A)(Lisson, David) (Entered:
                                          04/04/2024)
                                          NOTICE OF COMPLIANCE by Touchstream Technologies, Inc.
  2:23-cv-0059   4/4/2024      35         Regarding Touchstream's Technology Tutorial (Attachments: #
                                          1 Exhibit A)(Dykal, Ryan) (Entered: 04/04/2024)
                                          OPENING CLAIM CONSTRUCTION BRIEF filed by Touchstream
  2:23-cv-0059   4/4/2024      36         Technologies, Inc. (Dykal, Ryan) (Entered: 04/04/2024)

                                          SEALED MOTION to Compel Information Regarding Financial
                                          Interests by Comcast Cable Communications Management, LLC,
  2:23-cv-0059   4/10/2024     37         Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Attachments: # 1 Proposed Order, # 2 Exhibit
                                          1)(Ramani, Ashok) (Entered: 04/10/2024)




Exhibit J                                                                                         Page 9 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 11 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12138
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          MOTION to Dismiss Plaintiff's Claims of Pre-suit Willful
                                          Infringement of the '751 and '934 Patents by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0059   4/11/2024     38
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order)(Lisson, David) (Entered:
                                          04/11/2024)

                                          REDACTION to 37 SEALED MOTION to Compel Information
                                          Regarding Financial Interests by Comcast Cable Communications
  2:23-cv-0059   4/16/2024     39
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: # 1 Exhibit 1
                                          (Filed Under Seal))(Ramani, Ashok) (Entered: 04/16/2024)
                                          DEFENDANTS' RESPONSIVE CLAIM CONSTRUCTION BRIEF
                                          filed by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
  2:23-cv-0059   4/18/2024     40         Houston, LLC. (Attachments: # 1 Affidavit/Declaration of A. Farber,
                                          # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit
                                          5, # 7 Exhibit 6, # 8 Exhibit 7)(Lisson, David) (Entered: 04/18/2024)

                                          SEALED RESPONSE to Motion re 37 SEALED MOTION to
                                          Compel Information Regarding Financial Interests filed by
  2:23-cv-0059   4/24/2024     41
                                          Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit
                                          1)(Dykal, Ryan) (Entered: 04/24/2024)
                                          REPLY to 40 Claim Construction Brief, filed by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit '251 Patent, #
  2:23-cv-0059   4/25/2024     42
                                          2 Exhibit '751 Patent, # 3 Exhibit '934 Patent)(Dykal, Ryan)
                                          (Entered: 04/25/2024)
                                          NOTICE of Non-opposition by Touchstream Technologies, Inc. re
                                          38 MOTION to Dismiss Plaintiff's Claims of Pre-suit Willful
  2:23-cv-0059   4/25/2024     43
                                          Infringement of the '751 and '934 Patents (Dykal, Ryan) (Entered:
                                          04/25/2024)
                                          ORDER granting 38 MOTION to Dismiss Plaintiff's Claims of Pre-
                                          suit Willful Infringement of the '751 and '934 Patents. Signed by
  2:23-cv-0059   4/30/2024     44
                                          District Judge Rodney Gilstrap on 4/30/2024. (CH) (Entered:
                                          05/01/2024)
                                          REDACTION to 41 Sealed Response to Motion to Compel
                                          Information Regarding Financial Interests by Touchstream
  2:23-cv-0059   5/1/2024      45
                                          Technologies, Inc.. (Attachments: # 1 Exhibit 1)(Dykal, Ryan)
                                          (Entered: 05/01/2024)
                                          P.R. 4-5(D) Joint Claim Construction Chart by Touchstream
  2:23-cv-0059   5/2/2024      47         Technologies, Inc.. (Attachments: # 1 Exhibit A)(Dykal,
                                          Ryan) (Entered: 05/02/2024)
                                          NOTICE of Attorney Appearance by Melissa Richards Smith on
  2:23-cv-0059   5/7/2024      48         behalf of Touchstream Technologies, Inc. (Smith, Melissa)
                                          (Entered: 05/07/2024)




Exhibit J                                                                                          Page 10 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10        Filed 10/04/24     Page 12 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12139
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          ANSWER to 30 Amended Complaint, by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0059   5/14/2024     49
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC.(Lisson, David) (Entered: 05/14/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Evan James
                                          Weidner on behalf of Touchstream Technologies, Inc.. Filing fee $
  2:23-cv-0059   5/20/2024     53
                                          100, receipt number ATXEDC-10148748. (Weidner, Evan)
                                          (Entered: 05/20/2024)
                                          DEMAND for Trial by Jury by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   5/21/2024     54
                                          Xfinity, Comcast of Houston, LLC. (Lisson, David) (Entered:
                                          05/21/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Mark D.
                                          Schafer on behalf of Touchstream Technologies, Inc.. Filing fee $
  2:23-cv-0059   5/22/2024     55
                                          100, receipt number ATXEDC-10153097. (Schafer, Mark)
                                          (Entered: 05/22/2024)
                                          ORDER- The parties are directed to jointly prepare a redacted
                                          version of the May 2, 2024 Order for public viewing and to file the
                                          same on the Courts docket as an attachment to a Notice of
  2:23-cv-0059   5/24/2024     56
                                          Redaction within five (5) business days of entry of this Order..
                                          Signed by District Judge Rodney Gilstrap on 05/24/2024. (KLC)
                                          (Entered: 05/24/2024)
                                          JOINT MOTION to Amend/Correct Docket Control Order by
  2:23-cv-0059   5/24/2024     57         Touchstream Technologies, Inc.. (Attachments: # 1 Proposed
                                          Order)(Smith, Melissa) (Entered: 05/24/2024)

                                          Minute Entry for proceedings held before District Judge Rodney
  2:23-cv-0059   5/30/2024     59         Gilstrap: Markman Hearing held on 5/30/2024 from 01:30 PM to
                                          03:18 PM. (No exhibits)(Court Reporter Shawn McRoberts)
                                          (Attachments: # 1 Attendance Sheet) (aeb) (Entered: 05/30/2024)
                                          PAPER TRANSCRIPT REQUEST by Touchstream Technologies,
                                          Inc. for proceedings held on May 30, 2024 Claim Construction
  2:23-cv-0059   5/31/2024     60         Hearing before Judge Rodney Gilstrap. (Forwarded to Shawn
                                          McRoberts on 5/31/24) (Smith, Melissa) Modified on 5/31/2024
                                          (bga). (Entered: 05/31/2024)
                                          FIRST AMENDED DOCKET CONTROL ORDER granting 57
                                          JOINT MOTION to Amend/Correct Docket Control Order. Pretrial
                                          Conference set for 10/2/2024 at 09:00 AM before District Judge
  2:23-cv-0059   5/31/2024     61         Rodney Gilstrap., Jury Selection set for 10/28/2024 at 09:00AM
                                          before District Judge Rodney Gilstrap (Motion(s) 57 terminated).
                                          Signed by District Judge Rodney Gilstrap on 5/31/2024. (CH)
                                          (Entered: 05/31/2024)




Exhibit J                                                                                       Page 11 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 13 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12140
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Markman
                                          Hearing Proceedings held on 05/30/2024 before Judge Rodney
                                          Gilstrap. Court Reporter/Transcriber: Shawn McRoberts,Telephone
                                          number: (903) 923-8546. NOTICE RE REDACTION OF
                                          TRANSCRIPTS: The parties have seven (7) days to file with the
                                          Court a Notice of Intent to Request Redaction of this transcript. If
                                          no such Notice is filed, the transcript will be made remotely
                                          electronically available to the public without redaction after 90
  2:23-cv-0059   6/1/2024      62
                                          calendar days. The policy is located on our website at
                                          www.txed.uscourts.gov Transcript may be viewed at the court
                                          public terminal or purchased through the Court
                                          Reporter/Transcriber before the deadline for Release of Transcript
                                          Restriction. After that date it may be obtained through PACER..
                                          Motion to Redact due 6/24/2024. Release of Transcript Restriction
                                          set for 8/30/2024. Associated Cases: 2:23-cv-00059-JRG, 2:23-cv-
                                          00062-JRG(SMM) (Entered: 06/01/2024)
                                          PAPER TRANSCRIPT REQUEST by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC for
  2:23-cv-0059   6/3/2024      63         proceedings held on 5/30/2024 Claim Construction Hearing before
                                          Judge Rodney Gilstrap. (Forwarded to Shawn McRoberts on
                                          6/4/24) (Ramani, Ashok) Modified on 6/4/2024 (bga). (Entered:
                                          06/03/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Samuel
                                          George Bernstein on behalf of All Plaintiffs. Filing fee $ 100, receipt
  2:23-cv-0059   6/6/2024      65
                                          number ATXEDC-10177160. (Bernstein, Samuel) (Entered:
                                          06/06/2024)
                                          JOINT MOTION to Take Deposition from Linda Yaccarino Out of
                                          Time by Comcast Cable Communications Management, LLC,
  2:23-cv-0059   6/6/2024      66         Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Attachments: # 1 Proposed Order)(Lisson, David)
                                          (Entered: 06/06/2024)
                                          ORDER granting 66 JOINT MOTION to Take Deposition from
  2:23-cv-0059   6/7/2024      67         Linda Yaccarino Out of Time. Signed by District Judge Rodney
                                          Gilstrap on 6/7/2024. (CH) (Entered: 06/10/2024)
                                          NOTICE OF COMPLIANCE by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   6/24/2024     70         Xfinity, Comcast of Houston, LLC Regarding Comcast Defendants'
                                          Final Election of Asserted Prior Art (Lisson, David) (Entered:
                                          06/24/2024)
                                          CLAIM CONSTRUCTION ORDER. Signed by District Judge
  2:23-cv-0059   7/9/2024      74
                                          Rodney Gilstrap on 7/9/2024. (CH) (Entered: 07/09/2024)
                                          ORDER TO PAY TECHNICAL ADVISOR. Signed by District Judge
  2:23-cv-0059   7/19/2024     75         Rodney Gilstrap on 7/19/2024. (NKL) (Entered: 07/19/2024)




Exhibit J                                                                                         Page 12 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24     Page 14 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12141
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          NOTICE of Attorney Appearance - Pro Hac Vice by Sabina Mariella
                                          on behalf of Touchstream Technologies, Inc.. Filing fee $ 100,
  2:23-cv-0059   7/22/2024     76
                                          receipt number BTXEDC-10251862. (Mariella, Sabina) (Entered:
                                          07/22/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by John Michael
                                          Lyons on behalf of Touchstream Technologies, Inc.. Filing fee $
  2:23-cv-0059   7/22/2024     77
                                          100, receipt number ATXEDC-10251970. (Lyons, John) (Entered:
                                          07/22/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Sophie
                                          Roytblat on behalf of Touchstream Technologies, Inc.. Filing fee $
  2:23-cv-0059   7/23/2024     78
                                          100, receipt number ATXEDC-10253580. (Roytblat, Sophie)
                                          (Entered: 07/23/2024)
                                          JOINT NOTICE Regarding Mediation by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0059   7/23/2024     79
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC
                                          (Lisson, David) (Entered: 07/23/2024)
                                          JOINT MOTION to Take Deposition from Dr. Kevin Jeffay Out of
                                          Time by Comcast Cable Communications Management, LLC,
  2:23-cv-0059   7/26/2024     81         Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Attachments: # 1 Proposed Order)(Lisson,
                                          David) (Entered: 07/26/2024)
                                          ORDER granting 81 Motion to Take Deposition from Dr. Kevin
  2:23-cv-0059   7/29/2024     82         Jeffay Out of Time. Signed by District Judge Rodney Gilstrap on
                                          7/29/2024. (NKL) (Entered: 07/29/2024)
                                          SEALED MOTION to Strike the Opinions of Dr. Russell W.
                                          Mangum III by Comcast Cable Communications Management,
                                          LLC, Comcast Cable Communications, LLC d/b/a Xfinity, Comcast
                                          of Houston, LLC. (Attachments: # 1 Proposed Order, #
                                          2 Affidavit/Declaration of J. Park, # 3 Exhibit 1 (Mangum Report), #
                                          4 Exhibit 2 (May 14, 2024 Email), # 5 Exhibit 3 (Almeroth Infr.
                                          Report), # 6 Exhibit 4 (251 Patent), # 7 Exhibit 5 (751 Patent), #
                                          8 Exhibit 6 (934 Patent), # 9 Exhibit 7 (Manning Tr.), # 10 Exhibit 8
  2:23-cv-0059   8/5/2024      83
                                          (COM_00105403), # 11 Exhibit 9 (Almeroth Tr.), # 12 Exhibit 10
                                          (Mangum Clarification), # 13 Exhibit 11 (Mangum Tr.), # 14 Exhibit
                                          12 (COM_00105110), # 15 Exhibit 13 (Becker Report), # 16 Exhibit
                                          14 (COM_00093296), # 17 Exhibit 15 (TS_COMCAST_00023052),
                                          # 18 Exhibit 16 (Mitschele Tr.), # 19 Exhibit 17 (Google Trial Tr.), #
                                          20 Exhibit 18 (Google Verdict), # 21 Exhibit 19 (Strober
                                          Tr.))(Lisson, David) (Entered: 08/05/2024)




Exhibit J                                                                                         Page 13 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10          Filed 10/04/24       Page 15 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12142
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          SEALED MOTION to Strike Certain Opinions of Dr. Kevin Almeroth
                                          by Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration
                                          of A. Farber, # 3 Exhibit 1 (Almeroth Rebuttal Report), # 4 Exhibit 2
  2:23-cv-0059   8/5/2024      84
                                          (July 13, 2024 Email), # 5 Exhibit 3 (Almeroth Tr.), # 6 Exhibit 4
                                          (Touchstream's R&amp;O to Rog 4), # 7 Exhibit 5 (Almeroth Infr.
                                          Report), # 8 Exhibit 6 (Infr. Contentions), # 9 Exhibit 7 (Feb. 15,
                                          2024 Email))(Lisson, David) (Entered: 08/05/2024)

                                          SEALED MOTION for Partial Summary Judgment by Comcast
                                          Cable Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Declarations, # 2 Affidavit/Declaration of M.
  2:23-cv-0059   8/5/2024      85         Hardisty, # 3 Exhibit 1 (May 14, 2024 Email), # 4 Exhibit 2
                                          (Almeroth Infr. Report), # 5 Exhibit 3 (251 Patent), # 6 Exhibit 4
                                          (751 Patent), # 7 Exhibit 5 (934 Patent), # 8 Exhibit 6 (Almeroth
                                          Tr.), # 9 Exhibit 7 (Mangum Report))(Lisson, David) Modified on
                                          8/6/2024 (CH). (Entered: 08/05/2024)
                                          SEALED MOTION (Defendants' Motion for Summary Judgment of
                                          Invalidity Under 35 U.S.C. 101) by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration of M.
                                          Hardisty, # 3 Exhibit 1 (May 14, 2024 Email), # 4 Exhibit 2
  2:23-cv-0059   8/5/2024      86
                                          (Almeroth Infr. Report), # 5 Exhibit 3 (Wicker Report), # 6 Exhibit 4
                                          (251 Patent), # 7 Exhibit 5 (934 Patent), # 8 Exhibit 6 (Strober Tr.),
                                          # 9 Exhibit 7 (Almeroth Tr.), # 10 Exhibit 8 (Almeroth Rebuttal), #
                                          11 Exhibit 9 (Wicker Rebuttal), # 12 Exhibit 10 (751 Patent), #
                                          13 Exhibit 11 (Google MSJ))(Lisson, David) (Entered: 08/05/2024)

                                          PROPOSED MOTION for Summary Judgment of Validity by
                                          Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit Exhibit
  2:23-cv-0059   8/5/2024      88         1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, #
                                          5 Exhibit Exhibit 5, # 6 Proposed Order Proposed Order)(Dykal,
                                          Ryan) (Entered: 08/05/2024)
                                          SEALED MOTION to Strike the Opinions of Dr. Stephen Becker by
                                          Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
  2:23-cv-0059   8/5/2024      90         2 Exhibit 2, # 3 Exhibit 3, # 4 Proposed Order to Strike the
                                          Opinions of Dr. Stephen Becker)(Dykal, Ryan) (Entered:
                                          08/05/2024)
                                          SEALED MOTION to Strike the Opinions of Kevin Jeffay, Ph.D. by
                                          Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit 1, #
  2:23-cv-0059   8/5/2024      91         2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Proposed Order to
                                          Strike the Opinions of Kevin Jeffay, Ph.D.)(Dykal, Ryan) (Entered:
                                          08/05/2024)




Exhibit J                                                                                           Page 14 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 16 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12143
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          JOINT MOTION to Amend/Correct First Amended Docket Control
                                          Order by Comcast Cable Communications Management, LLC,
  2:23-cv-0059   8/9/2024      97         Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Attachments: # 1 Proposed Order)(Lisson, David)
                                          (Entered: 08/09/2024)
                                          ***FILED IN ERROR***MOTION to Strike to Strike the Opinions of
                                          Dr. Stephen Becker by Touchstream Technologies, Inc..
                                          (Attachments: # 1 Exhibit 1 Redacted, # 2 Exhibit 2 Redacted, #
  2:23-cv-0059   8/12/2024     98
                                          3 Exhibit 3 Redacted, # 4 Exhibit 4 Redacted, # 5 Proposed Order
                                          Redacted)(Dykal, Ryan) Modified on 8/12/2024 (CH). (Entered:
                                          08/12/2024)
                                          ***FILED IN ERROR*** MOTION to Strike the Opinions of Kevin
                                          Jeffay, Ph.D. by Touchstream Technologies, Inc.. (Attachments: #
                                          1 Exhibit 1 Redacted, # 2 Exhibit 2 Redacted, # 3 Exhibit 3
  2:23-cv-0059   8/12/2024     99
                                          Redacted, # 4 Exhibit 4 Redacted, # 5 Proposed Order
                                          Redacted)(Dykal, Ryan) Modified on 8/12/2024 (CH). (Entered:
                                          08/12/2024)
                                          ***FILED IN ERROR*** MOTION to Strike to Strike the Opinions of
                                          Dr. Stephen Becker by Touchstream Technologies, Inc..
  2:23-cv-0059   8/12/2024     100        (Attachments: # 1 Exhibit 1 Redacted, # 2 Exhibit 2 Redacted, #
                                          3 Exhibit 3 Redacted, # 4 Proposed Order Redacted)(Dykal, Ryan)
                                          Modified on 8/12/2024 (CH). (Entered: 08/12/2024)
                                          REDACTION to 83 SEALED MOTION to Strike the Opinions of Dr.
                                          Russell W. Mangum III by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: # 1 Proposed
                                          Order, # 2 Affidavit/Declaration of J. Park, # 3 Exhibit 1 (Mangum
                                          Report) (Filed Under Seal), # 4 Exhibit 2 (May 14, 2024 Email), #
                                          5 Exhibit 3 (Almeroth Infr. Report) (Filed Under Seal), # 6 Exhibit 4
                                          (251 Patent), # 7 Exhibit 5 (751 Patent), # 8 Exhibit 6 (934 Patent),
                                          # 9 Exhibit 7 (Manning Tr.) (Filed Under Seal), # 10 Exhibit 8
                                          (COM_00105403) (Filed Under Seal), # 11 Exhibit 9 (Almeroth Tr.)
  2:23-cv-0059   8/12/2024     103
                                          (Filed Under Seal), # 12 Exhibit 10 (Mangum Clarification) (Filed
                                          Under Seal), # 13 Exhibit 11 (Mangum Tr.) (Filed Under Seal), #
                                          14 Exhibit 12 (COM_00105110) (Filed Under Seal), # 15 Exhibit 13
                                          (Becker Report) (Filed Under Seal), # 16 Exhibit 14
                                          (COM_00093296) (Filed Under Seal), # 17 Exhibit
                                          (TS_COMCAST_00023052) (Filed Under Seal), # 18 Exhibit
                                          (Mitschele Tr.) (Filed Under Seal), # 19 Exhibit (Google Trial Tr.), #
                                          20 Exhibit (Google Verdict), # 21 Exhibit (Strober Tr.) (Filed Under
                                          Seal))(Lisson, David) (Entered: 08/12/2024)




Exhibit J                                                                                         Page 15 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10        Filed 10/04/24      Page 17 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12144
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 84 SEALED MOTION to Strike Certain Opinions of
                                          Dr. Kevin Almeroth by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: # 1 Proposed
                                          Order, # 2 Affidavit/Declaration of A. Farber, # 3 Exhibit 1
  2:23-cv-0059   8/12/2024     104        (Almeroth Rebuttal Report) (Filed Under Seal), # 4 Exhibit 2 (July
                                          13, 2024 Email), # 5 Exhibit 3 (Almeroth Tr.) (Filed Under Seal), #
                                          6 Exhibit 4 (Touchstream's R&amp;O to Rog 4) (Filed Under Seal),
                                          # 7 Exhibit 5 (Almeroth Infr. Report) (Filed Under Seal), # 8 Exhibit
                                          6 (Infr. Contentions), # 9 Exhibit 7 (Feb. 15, 2024 Email) (Filed
                                          Under Seal))(Lisson, David) (Entered: 08/12/2024)
                                          REDACTION to 86 SEALED MOTION (Defendants' Motion for
                                          Summary Judgment of Invalidity Under 35 U.S.C. 101) by Comcast
                                          Cable Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration of M.
                                          Hardisty, # 3 Exhibit 1 (May 14, 2024 Email), # 4 Exhibit 2
                                          (Almeroth Infr. Report) (Filed Under Seal), # 5 Exhibit 3 (Wicker
  2:23-cv-0059   8/12/2024     105
                                          Report) (Filed Under Seal), # 6 Exhibit 4 (251 Patent), # 7 Exhibit 5
                                          (934 Patent), # 8 Exhibit 6 (Strober Tr.) (Filed Under Seal), #
                                          9 Exhibit 7 (Almeroth Tr.) (Filed Under Seal), # 10 Exhibit 8
                                          (Almeroth Rebuttal) (Filed Under Seal), # 11 Exhibit 9 (Wicker
                                          Rebuttal) (Filed Under Seal), # 12 Exhibit 10 (751 Patent), #
                                          13 Exhibit 11 (Google MSJ) (Filed Under Seal))(Lisson,
                                          David) (Entered: 08/12/2024)
                                          REDACTION to 85 SEALED MOTION for Partial Summary
                                          Judgment by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Attachments: # 1 Proposed Order, #
                                          2 Affidavit/Declaration of M. Hardisty, # 3 Exhibit 1 (May 14, 2024
  2:23-cv-0059   8/12/2024     106
                                          Email), # 4 Exhibit 2 (Almeroth Infr. Report) (Filed Under Seal), #
                                          5 Exhibit 3 (251 Patent), # 6 Exhibit 4 (751 Patent), # 7 Exhibit 5
                                          (934 Patent), # 8 Exhibit 6 (Almeroth Tr.) (Filed Under Seal), #
                                          9 Exhibit 7 (Mangum Report) (Filed Under Seal))(Lisson, David)
                                          (Entered: 08/12/2024)
                                          REDACTION to 90 SEALED MOTION to Strike the Opinions of Dr.
                                          Stephen Becker by Touchstream Technologies, Inc.. (Attachments:
  2:23-cv-0059   8/16/2024     111        # 1 Exhibit 1 Redacted, # 2 Exhibit 2 Redacted, # 3 Exhibit 3
                                          Redacted, # 4 Proposed Order Redacted)(Dykal, Ryan) (Entered:
                                          08/16/2024)
                                          REDACTION to 91 SEALED MOTION to Strike the Opinions of
                                          Kevin Jeffay, Ph.D. by Touchstream Technologies, Inc..
  2:23-cv-0059   8/16/2024     112        (Attachments: # 1 Exhibit 1 Redacted, # 2 Exhibit 2 Redacted, #
                                          3 Exhibit 3 Redacted, # 4 Exhibit 4 Redacted, # 5 Proposed Order
                                          Redacted)(Dykal, Ryan) (Entered: 08/16/2024)




Exhibit J                                                                                        Page 16 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 18 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12145
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          SECOND AMENDED DOCKET CONTROL ORDER granting 97
                                          JOINT MOTION to Amend/Correct First Amended Docket Control
                                          Order. Pretrial Conference set for 9/30/2024 at 09:00 AM before
  2:23-cv-0059   8/15/2024     114
                                          District Judge Rodney Gilstrap (Motion(s) 97 terminated). Signed
                                          by District Judge Rodney Gilstrap on 8/15/2024. (CH) (Entered:
                                          08/16/2024)
                                          SEALED RESPONSE re 90 SEALED MOTION to Strike the
                                          Opinions of Dr. Stephen Becker filed by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration of J.
  2:23-cv-0059   8/19/2024     116
                                          Park, # 3 Exhibit A (Almeroth Infr. Report), # 4 Exhibit B (Jeffay
                                          Invalidity Report), # 5 Exhibit C (Mangum Report), # 6 Exhibit D
                                          (U.S. Prov. Appl. No. 61/333,066), # 7 Exhibit E (Becker Report), #
                                          8 Exhibit F (U.S. Patent No. 9,294,800), # 9 Exhibit G (Jeffay
                                          Rebuttal Report))(Lisson, David) (Entered: 08/19/2024)
                                          SEALED RESPONSE re 84 SEALED MOTION to Strike Certain
                                          Opinions of Dr. Kevin Almeroth filed by Touchstream Technologies,
  2:23-cv-0059   8/19/2024     117
                                          Inc.. (Attachments: # 1 Affidavit/Declaration of Ryan D. Dykal, #
                                          2 Exhibit 1)(Dykal, Ryan) (Entered: 08/19/2024)
                                          SEALED RESPONSE re 91 SEALED MOTION to Strike the
                                          Opinions of Kevin Jeffay, Ph.D. filed by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration of A.
                                          Farber, # 3 Exhibit A (Jeffay Invalidity Report), # 4 Exhibit B (Jeffay
  2:23-cv-0059   8/19/2024     119        Tr.), # 5 Exhibit C (Touchstream's Infr. Contentions), # 6 Exhibit D
                                          (Seiden Tr.), # 7 Exhibit E (Subbiah Tr.), # 8 Exhibit F (Almeroth
                                          Infr. Report), # 9 Exhibit G (Jeffay Noninfr. Report), # 10 Exhibit H
                                          (COM_00010983), # 11 Exhibit I (COM_00000653), # 12 Exhibit J
                                          (COM_00005535), # 13 Exhibit K (Cilione-Berger Tr.), # 14 Exhibit
                                          L (COM_00010938))(Lisson, David) (Entered: 08/19/2024)

                                          SEALED RESPONSE re 88 PROPOSED MOTION for Summary
                                          Judgment of Validity filed by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: # 1 Proposed
                                          Order, # 2 Affidavit/Declaration of M. Hardisty, # 3 Exhibit A
  2:23-cv-0059   8/19/2024     121
                                          (Almeroth Infr. Report), # 4 Exhibit B (Wicker Infr. Report), #
                                          5 Exhibit C (Jeffay Invalidity Report), # 6 Exhibit D (Shamos
                                          Invalidity Report), # 7 Exhibit E (U.S. Patent No. 8,356,251), #
                                          8 Exhibit F (Touchstream v. Google, Pretrial Conf. Tr.))(Lisson,
                                          David) (Entered: 08/19/2024)
                                          SEALED RESPONSE re 85 SEALED MOTION for Partial
                                          Summary Judgment filed by Touchstream Technologies, Inc..
  2:23-cv-0059   8/19/2024     122        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                                          D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Dykal,
                                          Ryan) (Entered: 08/19/2024)


Exhibit J                                                                                         Page 17 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24       Page 19 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12146
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          SEALED RESPONSE re 83 SEALED MOTION to Strike the
                                          Opinions of Dr. Russell W. Mangum III filed by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Affidavit/Declaration of
  2:23-cv-0059   8/19/2024     124        Jordan T. Bergsten, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
                                          5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H,
                                          # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L)(Dykal,
                                          Ryan) (Entered: 08/19/2024)
                                          SEALED RESPONSE re 86 SEALED MOTION (Defendants'
                                          Motion for Summary Judgment of Invalidity Under 35 U.S.C. 101)
  2:23-cv-0059   8/19/2024     125        filed by Touchstream Technologies, Inc.. (Attachments: # 1 Exhibit
                                          A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Dykal,
                                          Ryan) (Entered: 08/19/2024)
                                          Corrected Sealed Response to Main Document: 124 Sealed
  2:23-cv-0059   8/20/2024     127
                                          Response to Motion,. (Dykal, Ryan) (Entered: 08/20/2024)
                                          Corrected Sealed Response to Main Document: 125 Sealed
  2:23-cv-0059   8/20/2024     128
                                          Response to Motion,. (Dykal, Ryan) (Entered: 08/20/2024)
                                          NOTICE of Attorney Appearance - Pro Hac Vice by Thomas Glenn
                                          Saunders on behalf of Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   8/23/2024     131
                                          Xfinity, Comcast of Houston, LLC. Filing fee $ 100, receipt number
                                          ATXEDC-10317578. (Saunders, Thomas) (Entered: 08/23/2024)

                                          ***FILED IN ERROR PER ATTORNEY*** REPLY to Response re
                                          86 SEALED MOTION (Defendants' Motion for Summary Judgment
  2:23-cv-0059   8/26/2024     132        of Invalidity Under 35 U.S.C. 101) filed by Touchstream
                                          Technologies, Inc.. (Dykal, Ryan) Modified on 8/27/2024 (CH).
                                          (Entered: 08/26/2024)
                                          SEALED REPLY to Response re 90 SEALED MOTION to Strike
  2:23-cv-0059   8/26/2024     133        the Opinions of Dr. Stephen Becker filed by Touchstream
                                          Technologies, Inc.. (Dykal, Ryan) (Entered: 08/26/2024)
                                          REPLY to Response re 88 PROPOSED MOTION for Summary
  2:23-cv-0059   8/26/2024     134        Judgment of Validity filed by Touchstream Technologies, Inc..
                                          (Dykal, Ryan) (Entered: 08/26/2024)
                                          REDACTION to 116 Sealed Response to Motion,, Comcast's
                                          Response to Touchstream's Motion to Strike the Opinions of Dr.
                                          Stephen Becker by Comcast Cable Communications Management,
                                          LLC, Comcast Cable Communications, LLC d/b/a Xfinity, Comcast
                                          of Houston, LLC. (Attachments: # 1 Proposed Order, #
                                          2 Affidavit/Declaration of J. Park, # 3 Exhibit A (Almeroth Infr.
  2:23-cv-0059   8/26/2024     135
                                          Report) (Filed Under Seal), # 4 Exhibit B (Jeffay Invalidity Report)
                                          (Filed Under Seal), # 5 Exhibit C (Mangum Report) (Filed Under
                                          Seal), # 6 Exhibit D (U.S. Prov. Appl. No. 61/333,066), # 7 Exhibit
                                          E (Becker Report) (Filed Under Seal), # 8 Exhibit F (U.S. Patent
                                          No. 9,294,800), # 9 Exhibit G (Jeffay Rebuttal Report) (Filed Under
                                          Seal))(Lisson, David) (Entered: 08/26/2024)




Exhibit J                                                                                          Page 18 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24       Page 20 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12147
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 119 Sealed Response to Motion,,, Comcast's
                                          Response to Touchstream's Motion to Strike the Opinions of Kevin
                                          Jeffay, PH.D. by Comcast Cable Communications Management,
                                          LLC, Comcast Cable Communications, LLC d/b/a Xfinity, Comcast
                                          of Houston, LLC. (Attachments: # 1 Proposed Order, #
                                          2 Affidavit/Declaration of A. Farber, # 3 Exhibit A (Jeffay Invalidity
                                          Report), # 4 Exhibit B (Jeffay Tr.), # 5 Exhibit C (Touchstream's
  2:23-cv-0059   8/26/2024     136
                                          Infr. Contentions), # 6 Exhibit D (Seiden Tr.), # 7 Exhibit E
                                          (Subbiah Tr.), # 8 Exhibit F (Almeroth Infr. Report) (Filed Under
                                          Seal), # 9 Exhibit G (Jeffay Noninfr. Report) (Filed Under Seal), #
                                          10 Exhibit H (COM_00010983), # 11 Exhibit I (COM_00000653), #
                                          12 Exhibit J (COM_00005535), # 13 Exhibit K (Cilione-Berger Tr.),
                                          # 14 Exhibit L (COM_00010938))(Lisson, David) (Entered:
                                          08/26/2024)
                                          REDACTION to 121 Sealed Response to Motion,, Comcast and
                                          Charter Defendants' Response to Touchstream's Motion for
                                          Summary Judgment of Validity Under 35 U.S.C. 101 by Comcast
                                          Cable Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Proposed Order, # 2 Affidavit/Declaration of M.
  2:23-cv-0059   8/26/2024     137        Hardisty, # 3 Exhibit A (Almeroth Infr. Report) (Filed Under Seal), #
                                          4 Exhibit B (Wicker Infr. Report) (Filed Under Seal), # 5 Exhibit C
                                          (Jeffay Invalidity Report) (Filed Under Seal), # 6 Exhibit D (Shamos
                                          Invalidity Report) (Filed Under Seal), # 7 Exhibit E (U.S. Patent No.
                                          8,356,251), # 8 Exhibit F (Touchstream v. Google, Pretrial Conf.
                                          Tr.))(Lisson, David) (Entered: 08/26/2024)

                                          SEALED REPLY to Response re 91 SEALED MOTION to Strike
                                          the Opinions of Kevin Jeffay, Ph.D. filed by Touchstream
  2:23-cv-0059   8/26/2024     138
                                          Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                                          3 Exhibit C, # 4 Exhibit D)(Dykal, Ryan) (Entered: 08/26/2024)
                                          REDACTION to 124 Sealed Response to Motion, by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Affidavit/Declaration of
                                          Jordan T. Bergsten, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, #
  2:23-cv-0059   8/26/2024     141
                                          5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H,
                                          # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L)(Dykal,
                                          Ryan) (Entered: 08/26/2024)
                                          REDACTION to 117 Sealed Response to Motion by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Affidavit/Declaration of Ryan
  2:23-cv-0059   8/26/2024     144
                                          D. Dykal, # 2 Exhibit 1)(Dykal, Ryan) (Entered: 08/26/2024)

                                          REDACTION to 125 Sealed Response to Motion, by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
  2:23-cv-0059   8/26/2024     145
                                          3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Dykal, Ryan) (Entered:
                                          08/26/2024)




Exhibit J                                                                                          Page 19 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24     Page 21 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12148
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 122 Sealed Response to Motion, by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
  2:23-cv-0059   8/26/2024     147
                                          3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                                          G)(Dykal, Ryan) (Entered: 08/26/2024)
                                          SEALED REPLY to Response re 85 SEALED MOTION for Partial
                                          Summary Judgment filed by Comcast Cable Communications
  2:23-cv-0059   8/27/2024     151        Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Lisson, David) (Entered:
                                          08/27/2024)
                                          SEALED REPLY to Response re 84 SEALED MOTION to Strike
                                          Certain Opinions of Dr. Kevin Almeroth filed by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0059   8/27/2024     152        Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Affidavit/Declaration of A. Farber, # 2 Exhibit 8
                                          (Jan. 8, 2024 Email Thread))(Lisson, David) (Entered: 08/27/2024)

                                          SEALED REPLY to Response re 83 SEALED MOTION to Strike
                                          the Opinions of Dr. Russell W. Mangum III filed by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
  2:23-cv-0059   8/28/2024     155
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Affidavit/Declaration of J. Park, # 2 Exhibit 20
                                          (Becker Report))(Lisson, David) (Entered: 08/28/2024)
                                          SEALED REPLY to Response re 86 SEALED MOTION
                                          (Defendants' Motion for Summary Judgment of Invalidity Under 35
                                          U.S.C. 101) filed by Comcast Cable Communications
  2:23-cv-0059   8/28/2024     156
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Lisson, David) (Entered:
                                          08/28/2024)
                                          Additional Attachments to Main Document: 156 Sealed Reply to
                                          Response to Motion,. (Declaration of M. Hardisty in Support of
  2:23-cv-0059   8/28/2024     157        Defendants' Motion for Summary Judgment of Invalidity Under 35
                                          U.S.C. 101). (Attachments: # 1 Exhibit 12 (934 Patent))(Lisson,
                                          David) (Entered: 08/28/2024)
                                          ORDER REFERRING CASE to Mediator Hon. David Folsom,
                                          Folsom ADR PLLC, 6002-B Summerfield Drive, Texarkana, Texas
                                          75503, telephone number (903) 277-7303 Email:
  2:23-cv-0059   8/28/2024     158
                                          david@folsomadr.com, as mediator in the above-captioned Lead
                                          and Member Cases. Signed by District Judge Rodney Gilstrap on
                                          8/28/2024. (CH) (Entered: 08/29/2024)
                                          REDACTION to 151 Sealed Reply to Response to Motion Reply in
                                          Support of Comcast's Motion for Partial Summary Judgment by
  2:23-cv-0059   8/29/2024     159        Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Lisson, David) (Entered: 08/29/2024)




Exhibit J                                                                                        Page 20 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10        Filed 10/04/24     Page 22 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12149
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 152 Sealed Reply to Response to Motion, Reply in
                                          Support of Comcast's Motion to Strike Certain Opinions of Dr.
                                          Kevin Almeroth by Comcast Cable Communications Management,
                                          LLC, Comcast Cable Communications, LLC d/b/a Xfinity, Comcast
  2:23-cv-0059   8/29/2024     160
                                          of Houston, LLC. (Attachments: # 1 Affidavit/Declaration of A.
                                          Farber, # 2 Exhibit 8 (Jan. 8, 2024 Email Thread) (Filed Under
                                          Seal))(Lisson, David) (Entered: 08/29/2024)

                                          NOTICE of Attorney Appearance - Pro Hac Vice by Lauren Matlock-
                                          Colangelo on behalf of Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   8/30/2024     161
                                          Xfinity, Comcast of Houston, LLC. Filing fee $ 100, receipt number
                                          ATXEDC-10331173. (Matlock-Colangelo, Lauren) (Entered:
                                          08/30/2024)
                                          REDACTION to 155 Sealed Reply to Response to Motion,
                                          Comcast's Reply in Support of its Motion to Strike the Opinions of
                                          Dr. Russell W. Mangum III by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
  2:23-cv-0059   9/3/2024      162
                                          Xfinity, Comcast of Houston, LLC. (Attachments: #
                                          1 Affidavit/Declaration of J. Park, # 2 Exhibit 20 (Becker Report)
                                          (Filed Under Seal))(Lisson, David) (Entered: 09/03/2024)

                                          REDACTION to 156 Sealed Reply to Response to Motion, Reply in
                                          Support of Comcast and Charter Defendants' Motion for Summary
                                          Judgment of Invalidity Under 35 U.S.C. 101 by Comcast Cable
  2:23-cv-0059   9/3/2024      163
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Lisson, David) (Entered: 09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 90 SEALED
                                          MOTION to Strike the Opinions of Dr. Stephen Becker filed by
                                          Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   9/3/2024      164        Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Attachments: # 1 Affidavit/Declaration of J. Park, # 2 Exhibit
                                          Jeffay Rebuttal Report, # 3 Exhibit Almertoh Infr. Report)(Lisson,
                                          David) (Entered: 09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 91 SEALED
                                          MOTION to Strike the Opinions of Kevin Jeffay, Ph.D. filed by
                                          Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
  2:23-cv-0059   9/3/2024      165
                                          LLC. (Attachments: # 1 Affidavit/Declaration of A. Farber, #
                                          2 Exhibit M (Seiden Tr.), # 3 Exhibit N (Jeffay Inv. Report), #
                                          4 Exhibit O (Mangum Report))(Lisson, David) (Entered:
                                          09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 88 PROPOSED
                                          MOTION for Summary Judgment of Validity filed by Comcast Cable
  2:23-cv-0059   9/3/2024      166        Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Lisson, David) (Entered: 09/03/2024)


Exhibit J                                                                                       Page 21 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 23 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12150
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          Additional Attachments to Main Document: 166 Sealed Sur-Reply
                                          to Reply to Response to Motion,. (Declaration of M. Hardisty in
                                          Support of Defendants' Sur-reply in Opposition to Touchstream's
  2:23-cv-0059   9/3/2024      167
                                          Motion for Summary Judgment of Validity Under 35 U.S.C. 101).
                                          (Attachments: # 1 Exhibit G (934 Patent))(Lisson, David) (Entered:
                                          09/03/2024)
                                          SEALED MOTION (Comcast's Motions in Limine Nos. 1-5) by
                                          Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Attachments: # 1 Affidavit/Declaration of M. Hardisty, #
                                          2 Exhibit 1 (Touchstream's Interrogatory Responses), # 3 Exhibit 2
                                          (Sprint Complaint), # 4 Exhibit 3 (Kramer Tr.), # 5 Exhibit 4 (7/20
                                          Google Trial Tr.), # 6 Exhibit 5 (Jeffay Inv. Report), # 7 Exhibit 6
                                          (Mitschele Tr.), # 8 Exhibit 7 (COM_00105093), # 9 Exhibit 8
                                          (COM_00105108), # 10 Exhibit 9 (COM_00105105), # 11 Exhibit
                                          10 (Subbiah Tr.), # 12 Exhibit 11 (Mangum Report), # 13 Exhibit 12
  2:23-cv-0059   9/3/2024      172
                                          (Cilione-Berger Tr.), # 14 Exhibit 13 (Almeroth Infr. Report), #
                                          15 Exhibit 14 Cilione-Berger 2014 Tr.), # 16 Exhibit 15 (Strober
                                          Tr.), # 17 Exhibit 16 (Becker Report), # 18 Exhibit 17 (Becker Tr.),
                                          # 19 Exhibit 18 (Pighini Tr.), # 20 Exhibit 19 (Proposed PTX-009), #
                                          21 Exhibit 20 (7/17 Google Trial Tr.), # 22 Exhibit 21 (7/18 Google
                                          Trial Tr.), # 23 Exhibit 22 (Almeroth Rebuttal Report), # 24 Exhibit
                                          23 (COM_00008410), # 25 Exhibit 24 (COM_00105070), #
                                          26 Exhibit 25 (COM_00094669), # 27 Exhibit 26 (Proposed PTX-
                                          062))(Lisson, David) (Entered: 09/03/2024)

                                          SEALED MOTION in Limine by Touchstream Technologies, Inc..
                                          (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
  2:23-cv-0059   9/3/2024      173
                                          D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Dykal,
                                          Ryan) (Entered: 09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 85 SEALED
  2:23-cv-0059   9/3/2024      174        MOTION for Partial Summary Judgment filed by Touchstream
                                          Technologies, Inc.. (Dykal, Ryan) (Entered: 09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 84 SEALED
                                          MOTION to Strike Certain Opinions of Dr. Kevin Almeroth filed by
  2:23-cv-0059   9/3/2024      176        Touchstream Technologies, Inc.. (Attachments: #
                                          1 Affidavit/Declaration of Ryan Dykal, # 2 Exhibit 2)(Dykal,
                                          Ryan) (Entered: 09/03/2024)
                                          SEALED SUR-REPLY to Reply to Response re 83 SEALED
                                          MOTION to Strike the Opinions of Dr. Russell W. Mangum III filed
  2:23-cv-0059   9/4/2024      180
                                          by Touchstream Technologies, Inc.. (Dykal, Ryan) (Entered:
                                          09/04/2024)

                                          SEALED SUR-REPLY to Reply to Response re 86 SEALED
  2:23-cv-0059   9/4/2024      183        MOTION (Defendants' Motion for Summary Judgment of Invalidity
                                          Under 35 U.S.C. 101) filed by Touchstream Technologies, Inc..
                                          (Attachments: # 1 Exhibit 1)(Dykal, Ryan) (Entered: 09/04/2024)



Exhibit J                                                                                         Page 22 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10        Filed 10/04/24     Page 24 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12151
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 164 Sealed Sur-Reply to Reply to Response to
                                          Motion, by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
  2:23-cv-0059   9/5/2024      186
                                          Houston, LLC. (Attachments: # 1 Affidavit/Declaration of J. Park, #
                                          2 Exhibit H (Jeffay Rebuttal Report), # 3 Exhibit I (Almeroth Infr.
                                          Report))(Lisson, David) (Entered: 09/05/2024)
                                          REDACTION to 165 Sealed Sur-Reply to Reply to Response to
                                          Motion, by Comcast Cable Communications Management, LLC,
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
  2:23-cv-0059   9/5/2024      187        Houston, LLC. (Attachments: # 1 Affidavit/Declaration of A. Farber,
                                          # 2 Exhibit M (Seiden Tr.), # 3 Exhibit N (Jeffay Inv. Report), #
                                          4 Exhibit O (Mangum Report))(Lisson, David) (Entered:
                                          09/05/2024)
                                          REDACTION to 166 Sealed Sur-Reply to Reply to Response to
                                          Motion, by Comcast Cable Communications Management, LLC,
  2:23-cv-0059   9/5/2024      188
                                          Comcast Cable Communications, LLC d/b/a Xfinity, Comcast of
                                          Houston, LLC. (Lisson, David) (Entered: 09/05/2024)
                                          NOTICE of Request for Daily Transcript and Real Time Reporting
                                          by Comcast Cable Communications Management, LLC, Comcast
  2:23-cv-0059   9/5/2024      189
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC (Lisson, David) (Entered: 09/05/2024)
                                          NOTICE OF REQUEST FOR DAILY TRIAL TRANSCRIPTS AND
  2:23-cv-0059   9/6/2024      191        REAL TIME REPORTING by Touchstream Technologies, Inc.
                                          (Smith, Melissa) (Entered: 09/06/2024)




Exhibit J                                                                                       Page 23 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 25 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12152
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 172 SEALED MOTION (Comcast's Motions in
                                          Limine Nos. 1-5) by Comcast Cable Communications
                                          Management, LLC, Comcast Cable Communications, LLC d/b/a
                                          Xfinity, Comcast of Houston, LLC. (Attachments: #
                                          1 Affidavit/Declaration of M. Hardisty, # 2 Exhibit 1 (Touchstream's
                                          Interrogatory Responses) (Filed Under Seal), # 3 Exhibit 2 (Sprint
                                          Complaint), # 4 Exhibit 3 (Kramer Tr.) (Filed Under Seal), #
                                          5 Exhibit 4 (7/20 Google Trial Tr.) (Filed Under Seal), # 6 Exhibit 5
                                          (Jeffay Inv. Report), # 7 Exhibit 6 (Mitschele Tr.) (Filed Under
                                          Seal), # 8 Exhibit 7 (COM_00105093) (Filed Under Seal), #
                                          9 Exhibit 8 (COM_00105108) (Filed Under Seal), # 10 Exhibit 9
                                          (COM_00105105) (Filed Under Seal), # 11 Exhibit 10 (Subbiah Tr.)
                                          (Filed Under Seal), # 12 Exhibit 11 (Mangum Report) (Filed Under
  2:23-cv-0059   9/10/2024     192        Seal), # 13 Exhibit 12 (Cilione-Berger Tr.) (Filed Under Seal), #
                                          14 Exhibit 13 (Almeroth Infr. Report) (Filed Under Seal), #
                                          15 Exhibit 14 (Cilione-Berger 2014 Tr.) (Filed Under Seal), #
                                          16 Exhibit 15 (Strober Tr.) (Filed Under Seal), # 17 Exhibit 16
                                          (Becker Report) (Filed Under Seal), # 18 Exhibit 17 (Becker Tr.)
                                          (Filed Under Seal), # 19 Exhibit 18 (Pighini Tr.) (Filed Under Seal),
                                          # 20 Exhibit 19 (Proposed PTX-009), # 21 Exhibit 20 (7/17 Google
                                          Trial Tr.) (Filed Under Seal), # 22 Exhibit 21 (7/18 Google Trial Tr.)
                                          (Filed Under Seal), # 23 Exhibit 22 (Almeroth Rebuttal Report)
                                          (Filed Under Seal), # 24 Exhibit 23 (COM_00008410), # 25 Exhibit
                                          24 (COM_00105070) (Filed Under Seal), # 26 Exhibit 25
                                          (COM_00094669) (Filed Under Seal), # 27 Exhibit 26 (Proposed
                                          PTX-062))(Lisson, David) (Entered: 09/10/2024)

                                          REDACTION to 173 SEALED MOTION in Limine by Touchstream
  2:23-cv-0059   9/10/2024     193        Technologies, Inc.. (Dykal, Ryan) (Entered: 09/10/2024)

                                          REDACTION to 173 SEALED MOTION in Limine by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
  2:23-cv-0059   9/11/2024     195
                                          3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                                          G)(Dykal, Ryan) (Entered: 09/11/2024)
                                          Set/Reset Hearings: Pretrial Conference originally set for
                                          10/8/2024 has been RESET for 12/2/2024 at 09:00 AM in Ctrm 106
  2:23-cv-0059   9/16/2024
                                          (Marshall) before District Judge Rodney Gilstrap. (aeb) (Entered:
                                          09/16/2024)
                                          Set/Reset Hearings: Jury Selection followed by Trial Day 1
                                          originally set for 10/28/2024 has been RESET for 12/9/2024 at
  2:23-cv-0059   9/16/2024
                                          09:00 AM in Ctrm 106 (Marshall) before District Judge Rodney
                                          Gilstrap. (aeb) (Entered: 09/16/2024)
                                          JOINT MOTION for entry of Docket Control Order by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Proposed Order Docket
  2:23-cv-0059   9/18/2024    200
                                          Entry 114, # 2 Proposed Order Third Amended Docket
                                          Order)(Dykal, Ryan) (Entered: 09/18/2024)




Exhibit J                                                                                         Page 24 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24       Page 26 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12153
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          SEALED RESPONSE re 172 SEALED MOTION (Comcast's
                                          Motions in Limine Nos. 1-5) filed by Touchstream Technologies,
                                          Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
  2:23-cv-0059   9/18/2024    202
                                          # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                                          H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L)(Dykal,
                                          Ryan) (Entered: 09/18/2024)
                                          SEALED RESPONSE re 173 SEALED MOTION in Limine filed by
                                          Comcast Cable Communications Management, LLC, Comcast
                                          Cable Communications, LLC d/b/a Xfinity, Comcast of Houston,
                                          LLC. (Attachments: # 1 Affidavit/Declaration of A. Farber,
                                          # 2 Exhibit 1 (TS_COMCAST_00013929), # 3 Exhibit 2
                                          (TS_COMCAST_00014059), # 4 Exhibit 3
                                          (TS_COMCAST_00065876), # 5 Exhibit 4 (COM_00095829),
                                          # 6 Exhibit 5 (Werner Dep. Tr.), # 7 Exhibit 6
                                          (TS_COMCAST_00014056), # 8 Exhibit 7 (Jeffay Invalidity Rpt.),
  2:23-cv-0059   9/18/2024    204
                                          # 9 Exhibit 8 (COM_00101606), # 10 Exhibit 9 (COM_00091288),
                                          # 11 Exhibit 10 (COM_00091331), # 12 Exhibit 11 (Villaceran Dep.
                                          Tr.), # 13 Exhibit 12 (Jeffay Rebut. Rpt.), # 14 Exhibit 13 (Beyda
                                          Dep. Tr.), # 15 Exhibit 14 (Jul. 17, 2023 Google Trial Tr.,
                                          TS_COMCAST_00044538), # 16 Exhibit 15 (Jul. 18, 2023 Google
                                          Trial Tr., TS_COMCAST_00044782), # 17 Exhibit 16 (Mitschele
                                          Dep. Tr.), # 18 Exhibit 17 (Strober Dep. Tr.), # 19 Exhibit 18
                                          (Rinzler Dep. Tr.))(Lisson, David) (Entered: 09/18/2024)

                                          THIRD AMENDED DOCKET CONTROL ORDER
                                          granting 200 JOINT MOTION for entry of Docket Control Order.
  2:23-cv-0059   9/19/2024    205
                                          Signed by District Judge Rodney Gilstrap on 9/19/2024. (CH)
                                          (Entered: 09/19/2024)
                                          REDACTION to 202 Sealed Response to Motion, by Touchstream
                                          Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                                          # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
  2:23-cv-0059   9/25/2024    210
                                          G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K,
                                          # 12 Exhibit L)(Dykal, Ryan) (Entered: 09/25/2024)

                                          REPORT of Mediation by David Folsom. Mediation result:
  2:23-cv-0059   9/25/2024    212
                                          impasse(Folsom, David) (Entered: 09/25/2024)




Exhibit J                                                                                          Page 25 of 26
             Case 2:23-cv-00059-JRG-RSP     Document 215-10         Filed 10/04/24      Page 27 of 27
                                   LIST OFPageID
                                           DOCKET#: ENTRIES
                                                     12154
                             RELATED TO MEMBER CASE 2:23-cv-0062


                                          REDACTION to 204 Sealed Response to Motion,,,, Comcast's
                                          Opposition to Touchstream's Motions in Limine by Comcast Cable
                                          Communications Management, LLC, Comcast Cable
                                          Communications, LLC d/b/a Xfinity, Comcast of Houston, LLC.
                                          (Attachments: # 1 Affidavit/Declaration of A. Farber, # 2 Exhibit 1
                                          (TS_COMCAST_00013929) (Filed Under Seal), # 3 Exhibit 2
                                          (TS_COMCAST_00014059) (Filed Under Seal), # 4 Exhibit 3
                                          (TS_COMCAST_00065876) (Filed Under Seal), # 5 Exhibit 4
                                          (COM_00095829) (Filed Under Seal), # 6 Exhibit 5 (Werner Dep.
                                          Tr.) (Filed Under Seal), # 7 Exhibit 6 (TS_COMCAST_00014056)
                                          (Filed Under Seal), # 8 Exhibit 7 (Jeffay Invalidity Rpt.) (Filed Under
  2:23-cv-0059   9/26/2024    213
                                          Seal), # 9 Exhibit 8 (COM_00101606) (Filed Under Seal),
                                          # 10 Exhibit 9 (COM_00091288) (Filed Under Seal), # 11 Exhibit 10
                                          (COM_00091331) (Filed Under Seal), # 12 Exhibit 11 (Villaceran
                                          Dep. Tr.) (Filed Under Seal), # 13 Exhibit 12 (Jeffay Rebut. Rpt.)
                                          (Filed Under Seal), # 14 Exhibit 13 (Beyda Dep. Tr.) (Filed Under
                                          Seal), # 15 Exhibit 14 (Jul. 17, 2023 Google Trial Tr.,
                                          TS_COMCAST_00044538), # 16 Exhibit 15 (Jul. 18, 2023 Google
                                          Trial Tr., TS_COMCAST_00044782), # 17 Exhibit 16 (Mitschele
                                          Dep. Tr.) (Filed Under Seal), # 18 Exhibit 17 (Strober Dep. Tr.)
                                          (Filed Under Seal), # 19 Exhibit 18 (Rinzler Dep. Tr.) (Filed Under
                                          Seal))(Lisson, David) (Entered: 09/26/2024)




Exhibit J                                                                                         Page 26 of 26
